8:13-cr-00088-RFR-SMB         Doc # 75     Filed: 06/09/14     Page 1 of 2 - Page ID # 246




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:13CR88
                                              )
              Plaintiff,                      )
                                              )                  AMENDED
              vs.                             )              TENTATIVE FINDINGS
                                              )
JUAN AVALOS,                                  )
                                              )
              Defendant.                      )

       The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”), and the Defendant's Amended Objections to the Revised Presentence

Investigation Report (Filing No. 72). The government adopted the PSR (Filing No. 50.)

See Order on Sentencing Schedule, ¶ 6. The Court advises the parties that these

Tentative Findings are issued with the understanding that, pursuant to United States v.

Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1. The Defendant’s objections to the PSR (Filing No. 72) will be heard at the

sentencing hearing;

       2.     The Court intends to adopt the PSR in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary
8:13-cr-00088-RFR-SMB          Doc # 75    Filed: 06/09/14   Page 2 of 2 - Page ID # 247




hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final;

       5.     Defendant’s objections to the PSR (Filing No. 49) and Motion to Strike (Filing

No. 71) are denied as moot; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 9th day of June, 2014.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




                                               2
